                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISON

SUSAN BACS and
JESSICA ROUBERT,

      Plaintiffs,

v.                                     CASE NO.: 8:21-cv-2852-TPB-TGW

CAPITAL ONE FINANCIAL
CORPORATION,

    Defendant.
_____________________/

                    DECLARATION OF LUIS A. CABASSA

      1.     I, along with my law partner, Brandon J. Hill, and co-counsel, Chad

Justice, represent the Named Plaintiff in this case.

      2.     Regarding my relevant educational and professional background, I have

been engaged in the practice of law for approximately twenty-six (26) years. The

corresponding state and federal bar admissions are:

      •      Supreme Court of Florida (1995)
      •      United States Court of Appeals for the Eleventh Circuit (1998)
      •      United States District Court for the Northern District of Florida
             (1995)
      •      United States District Court for the Middle District of Florida
             (1997)
      •      United States District Court for the Southern District of Florida
             (2003)

      3.     I obtained a Juris Doctor in 1995 from the Florida State University

College of Law (With Honors) and a B.S. in Industrial Labor Relations from Cornell

University in 1992 (With Honors).

      4.     For over twenty years, my practice has been devoted almost exclusively
to Labor and Employment Law. I have extensive trial experience in State and Federal

Court, including several collective and class actions.

      5.     Since 2005, I have been Board Certified by the Florida Bar as a

Specialist in Labor and Employment Law. I am also AV rated by Martindale Hubbell

and a Fellow of the American Bar Foundation.

      6.     I have served on the Board Certification Committee for the Labor and

Employment Section of the Florida Bar.

      7.     During my career I have been lead counsel, or co-counsel, in more than

600 federal and state court lawsuits.

      8.     I have been retained by Plaintiff as counsel in the instant case.

      9.     I possess the experience required to represent the proposed class, and

my firm has the resources and experience to prosecute this case.

      10.    I possess the requisite experience necessary to serve as class counsel in

this case. I have been appointed as class counsel in multiple class actions, including

cases involving a few hundred class members up to nearly half a million class

members. Below is a list of class action cases I have been appointed as class counsel

by the Court:

      •      Brown, et al. v. Lowe’s Companies, Inc., and LexisNexis
             Screening Solutions, Inc., Case No.: 5:13-CV-00079-RLV-DSC
             (W.D.N.C) (appointed as co-class counsel in national FCRA class
             action matter involving 451,000 class members);
      •      Speer v. Whole Foods Market Group, Inc., 8:14-cv-03035-RAL-
             TBM (M.D. Fla.) (served as class counsel in Fair Credit Reporting
             Act class case involving 20,000 individuals);
      •      Banks v. Alorica, Inc., Case No.: 8:13-cv-00985-JDW-TBM
             (M.D. Fla.) (served as class counsel in WARN Act class action in
             a case involving hundreds of class members);

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•   Kohler, Kimberly v. SWF Operations, LLC and Domino’s Pizza,
    LLC, Case No. 8:14-cv-2568-T-35TGH (appointed class counsel
    in Fair Credit Reporting Act case involving several hundred class
    members);
•   Hargrett, et al. v. Amazon.com, DEDC, LLC, 8:15-cv-02456-
    WFJ-AAS, M.D. Fla. Case No.: 8:15-cv-02456 (appointed as class
    counsel in FCRA case with 480,000+ class members);
•   Smith, et al. v. QS Daytona, LLC, Case No.: 6:15-cv-00347-GAP-
    KRS (M.D. Fla.) (Doc. 45) (appointed as class counsel in FCRA
    class action involving several hundred class members);
•   Patrick, Nieyshia v. Interstate Management Company, LLC,
    Case No. 8:15-cv-1252-T-33AEP (M.D. Fla.) (appointed as class
    counsel in FCRA class action with approximately 32,000 class
    members);
•   Molina et al v. Ace Homecare LLC, 8:16-cv-02214-JDW-TGW
    (M.D. Fla) (appointed as class counsel in WARN Act case with
    approximately 500 class members);
•   Moody, et al v. Ascenda, et al., Case No. 0:16-cv-60364-WPD
    (S.D. Fla.) (appointed as class counsel in FCRA class action with
    approximately 12,000 class members);
•   Mahoney v. TT of Pine Ridge, Inc., Case No.: 9:17-cv-80029-
    DMM (S.D. Fla. Nov. 20, 2017) (served as class counsel in TCPA
    case with 300,000+ class members).
•   George v. Primary Care Holding Inc., Case No. 0:17-cv-60217-
    BB (S.D. Fla.) (appointed as class counsel in FCRA class action);
•   Vazquez v. Marriott International, Inc., Case No.: 8:17-cv-
    00116-MSS-SPF (M.D. Fla) (appointed as class counsel in
    deficient COBRA notice case with 20,000 class members);
•   Valdivieso v. Cushman & Wakefield Inc., Case No.: 8:17-cv-
    00118-SDM-JSS (M.D. Fla) (appointed as class counsel in
    deficient COBRA notice case with 2,000+ class members);
•   Dukes v. Air Canada, Case No.: 8:18-cv-02176-TPB-JSS (M.D.
    Fla) (served as class counsel in FCRA case involving
    approximately 1,300 class members);
•   Figueroa v. Baycare Healthcare System, Inc., Case No.: 8:17-cv-
    01780-JSM-AEP (M.D. Fla) (served as class counsel in FCRA case
    involving approximately 2,009 class members);
•   Rivera v. Aimbridge Hospitality, LLC, Case No.: 8:18-cv-02192-
    EAK-JSS (M.D. Fla) remanded to Rivera v. Aimbridge
    Hospitality, LLC, 18-CA-007870, Thirteenth Judicial Circuit in
    and for Hillsborough County, Florida (served as class counsel in
    data breach case with 320,000 class members).
•   Blaney v. Aimbridge Hospitality, LLC, 18-CA-007870,
    Thirteenth Judicial Circuit in and for Hillsborough County,
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    Florida (served as class counsel in Fair Credit Reporting Act case
    with 17,00 class members);
•   Cathey v. Heartland Dental, LLC, 2019-CA-000568, Fourth
    Judicial Circuit in and for Pasco County, Florida (served as class
    counsel in Fair Credit Reporting Act case with 9,800 class
    members);
•   Harake v. Trace Staffing Solutions, LLC, Case No.: 8:19-cv-
    00243-CEH-CPT (M.D. Fla) (served as class counsel in Fair
    Credit Reporting Act case with 8,700 class members;
•   Hicks v. Lockheed Martin Corporation, Case No.: 8:19-cv-00261-
    JSM-TGW (M.D. Fla) (appointed as class counsel in deficient
    COBRA notice case with 54,000+ class members);
•   Holly-Taylor v. Acadia Healthcare Company, Inc., et al., Case
    No.: 18-CA-007870, Thirteenth Judicial Circuit in and for
    Hillsborough County, Florida (served as class counsel in Fair
    Credit Reporting Act case with 25,00 class members);
•   Ali v. Laser Spine Institute, LLC, Case No.: 8:19-cv-00261-JSM-
    TGW (M.D. Fla) (appointed as class counsel WARN Act case
    involving 500 class members);
•   Rigney et al v. Target Corporation, Case No.: 8:19-cv-01432-
    MSS-JSS (M.D. Fla) (served as class counsel in deficient COBRA
    notice case with 92,000+ class members)
•   Luker v. Cognizant Technologies Solutions U.S. Corporation,
    Case No.: 8:19-cv-01448-WFJ-JSS (M.D. Fla) (served as class
    counsel in wage case with 308 class members);
•   Lyttle v. Trulieve, Inc., et al., Case No.: 8:19-cv-02313-CEH-TGW
    (M.D. Fla) (appointed as class counsel in Fair Credit Reporting
    Act case involving 1,300 class members);
•   Twardosky v. Waste Management, Inc. of Florida, et al., 8:19-
    cv-02467-CEH-TGW (M.D. Fla) (appointed as class counsel in
    Fair Credit Reporting Act case involving 29,295 class members);
•   Silberstein v. Petsmart, Inc., 8:19-cv-02800-SCB-AAS (M.D. Fla)
    (appointed as class counsel in deficient COBRA notice case with
    12,000+ class members);
•   Benson v. Enterprise Holdings, Inc. et al., Case No.: 6:20-cv-
    00891-RBD-LRH (M.D. Fla) (appointed as class counsel in
    WARN Act class action involving 900+ class members);
•   Morris et al v. US Foods, Inc., Case No.: 8:20-cv-00105-SDM-
    CPT (M.D. Fla) (appointed as class counsel in deficient COBRA
    notice case with 19,000+ class members;
•   Forsyth v. Lucky's Market GP2, LLC et al, Case No.: 20-10166
    (JTD); Adv. Pro. No. 20-50449 (JTD) (Del. Bk.) (served as class
    counsel in WARN Act class action pursued in Bankruptcy court
    adversarial proceeding involving hundreds of former employees);
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      •      Taylor v. Citizens Telecom Services Company, LLC, Case No.:
             8:20-cv-00509-CEH-CPT (M.D. Fla) (appointed as class counsel
             in deficient COBRA notice case with 16,137 class members);
      •      Holmes et al v. WCA Waste Systems, Inc., Case No.: 8:20-cv-
             00766-SCB-JSS (M.D. Fla) (served as class counsel in deficient
             COBRA notice case with 1,720 class members);
      •      Boyd v. Task Management, Inc., Case No.: 8:20-cv-00780-MSS-
             JSS (M.D. Fla.) (appointed as class counsel in Fair Credit
             Reporting Act case involving 5,500 class members);
      •      In re The Hertz Corporation, et al, Case No.: 20-11218 (MFW)
             (Del. Bk.) (served as class counsel in WARN Act class action
             pursued in Bankruptcy court involving 6,000+ class members);
      •      Kaintz v. The Goodman Group, Inc., 8:20-cv-02115-VMC-AAS
             (appointed as class counsel in deficient COBRA notice case with
             2,889 class members);
      •      Gorman v. Whelan Event Staffing Services, Inc., et al., Case No.:
             8:20-cv-02275-CEH-AEP (appointed as class counsel in Fair
             Credit Reporting Act case involving 29,000+ class members);
      •      Benitez v. FGO Delivers, LLC, Case No.: 8:21-cv-00221-KKM-
             TGW (M.D. Fla.) (appointed as class counsel in Fair Credit
             Reporting Act case involving 9,000+ class members);
      •      Lopez v. Ollie’s Bargain Outlet, Inc., 2020-CA-002511-OC, Ninth
             Judicial Circuit in and for Pasco County, Florida (served as class
             counsel in Fair Credit Reporting Act case with 3,500 class
             members);
      •      McNamara v. Brenntag Mid-South, Inc., Case No.: 8:21-cv-
             00618-MSS-JSS (M.D. Fla.) (appointed as class counsel in
             deficient COBRA notice case with 800+ class members);
      •      Santiago et al v. University of Miami, 1:20-cv-21784-DPG
             (appointed as class counsel in ERISA class action involving
             university retirement plan and approximately 20,000 class
             members).

      11.    I am confident that the proposed Class Representatives, Jessica

Roubert and Susan Bacs, will adequately represent the putative class members in

this case.

      12.    At all times both Jessica Roubert and Susan Bacs have actively

participated in this case and represented the interests of the class members. They

provided critical information utilized to draft the Complaint and Amended
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Complaint, participated in discovery, and otherwise have no conflicts with the class

members.

     13.   To my knowledge, no conflicts, disabling or otherwise, exist between

Jessica Roubert and Susan Bacs and the putative class members.

     14.   I have the desire, intention, financial resources, and ability to prosecute

these claims in the face of strenuous opposition by Defendant. I also have no

conflicts with any class members.

     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

     Dated this 3rd day of August, 2022.


                                     /s/Luis A. Cabassa
                                     Luis A. Cabassa




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